Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 1 of 8 PageID# 425




                          EXHIBIT
                             A
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 2 of 8 PageID# 426




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION


     CHARLOTTE CHARLES, et al.,


                      Plaintiffs,

          v.
                                                       Civil Action No. 20-1052-TSE
     ANNE SACOOLAS and JONATHAN
     SACOOLAS,

                      Defendants.


 UNITED STATES’ STATEMENT OF INTEREST AND MEMORANDUM IN SUPPORT
                  OF MOTION FOR PROTECTIVE ORDER

                                          INTRODUCTION

         The United States respectfully submits this Statement of Interest, pursuant to 28 U.S.C. §

 517,1 and memorandum in support of its motion for protective order. The United States is not a

 party to this litigation and takes no position on the merits of Plaintiffs’ claims. The United States

 also expresses its deep condolences for the tragic death of Harry Dunn. The United States has an

 interest in this case concerning the protection of certain limited information that, as described

 further below, should be irrelevant to further proceedings in this case. The United States’ interest

 arises out of the effect the disclosure of the information at issue could reasonably be expected to

 have on the national security of the United States.           That information is described in the

 Government’s accompanying ex parte, in camera submission.




 1
  28 U.S.C. § 517 provides that an officer of the Department of Justice “may be sent by the
 Attorney General to any State or district in the United States to attend to the interests of the
 United States in a suit pending in a court of the United States . . . or to attend to any other interest
 of the United States.”
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 3 of 8 PageID# 427




        The United States respectfully requests that this Court enter a protective order foreclosing

 discovery or disclosure of information in this civil action implicating the United States

 Government that is in any way, either directly or indirectly, related to the Defendants’ or any other

 individuals’ employment with the United States Government. Such information, as detailed in the

 Government’s accompanying submission, should have little to no relevance to this tort litigation

 between private parties. Moreover, any relevance such information could conceivably have to this

 case is outweighed by the Government’s significant interests in protecting against its disclosure in

 this proceeding. In light of these considerations, the United States seeks a protective order under

 Rule 26(b) and (c) on the basis that discovery or disclosures regarding the Government in this case

 is beyond the scope of discovery as not relevant to any party’s claim or defense and not

 proportional to the needs of the case.

                                          BACKGROUND

        1.      This case arises out of a tragic traffic accident in the United Kingdom between

 Defendant Anne Sacoolas and Harry Dunn, a U.K. citizen, on August 27, 2019. See Compl. ¶ 1,

 ECF No. 1. Ms. Sacoolas accidentally drove on the wrong side of a public road and struck Mr.

 Dunn, who was riding a motorcycle on the correct side of the road. Id. ¶¶ 14, 18. Mr. Dunn

 ultimately died of the injuries he sustained in the collision. Id. ¶ 34.

        Shortly after the accident, the Sacoolas family returned to the United States. Id. ¶ 38. Ms.

 Sacoolas was later charged by England’s Crown Prosecution Service with a criminal charge of

 causing Mr. Dunn’s death by dangerous driving. Id. ¶ 39. The U.K. government requested that

 Ms. Sacoolas be extradited to face this charge, a request that the Secretary of State denied. Id. ¶

 40.




                                                   2
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 4 of 8 PageID# 428




        Mr. Dunn’s estate, his parents, and his brother now assert various tort claims against Anne

 Sacoolas and her husband Jonathan, the former based on her negligent driving that night and the

 latter based on his alleged vicarious liability for the collision. See generally id. ¶¶ 48–98.

 Defendants moved to dismiss on the basis of forum non conveniens and failure to state a claim.

 The Court largely denied the motion to dismiss. Although Defendants continue to challenge Mr.

 Sacoolas’s vicarious liability as well as the quantum of damages, Ms. Sacoolas has conceded her

 liability for the collision. See Answer ¶ 52, ECF No. 29. Discovery is ongoing and depositions of

 the Defendants are set to occur on August 24 and 25, 2021.

        2.      On July 8, 2021, undersigned counsel for the United States spoke with each of the

 parties concerning the issues raised in this motion. Counsel for Defendants consented to the entry

 of a protective order that would have precluded the disclosure in this litigation of any information

 bearing any connection to the United States Government. In a written response transmitted the

 next day, counsel for Plaintiffs indicated that they could not consent to such a protective order.

        The United States subsequently proposed to the parties a more limited protective order,

 which sought to preclude only information implicating the United States Government that directly

 or indirectly relates to the Defendants’ or any other individuals’ employment with the United

 States Government – the exact protective order that the United States now seeks through this

 motion. In a written response dated July 16, 2021, counsel for the Plaintiffs explained that while

 they could agree not to elicit Defendants’ employment titles, positions, and duties, they would not

 agree to a broader order. Because, for the reasons identified in the United States’ ex parte and in

 camera submission, a more detailed explanation of the reasons supporting the need for a broader

 protective order could not be provided to Plaintiffs or their counsel, on July 20, 2021, undersigned




                                                  3
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 5 of 8 PageID# 429




 counsel informed counsel for the Plaintiffs that further discussions would not be fruitful and

 proceeded to file this motion.

                                    STANDARD OF REVIEW

        The Court has wide discretion to control the nature and timing of discovery and “should

 not hesitate to exercise appropriate control over the discovery process.” Herbert v. Lando, 441

 U.S. 153, 177 (1979). This power includes authority to issue a protective order under Federal Rule

 of Civil Procedure 26(c) upon a showing of good cause in order to “protect a party or person from

 annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1);

 see also Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984) (stating that “Rule 26(c) confers

 broad discretion on the trial court to decide when a protective order is appropriate and what degree

 of protection is required”); Crawford-El v. Britton, 523 U.S. 574, 598 (1998) (“Rule 26 vests the

 trial judge with broad discretion to tailor discovery narrowly and to dictate the sequence of

 discovery.”). This discretion includes orders forbidding the requested discovery altogether and

 “forbidding inquiry into certain matters.” Fed. R. Civ. P. 26(c)(1)(A), (D).

                                           ARGUMENT

  INFORMATION REGARDING THE UNITED STATES GOVERNMENT IS BEYOND
 THE SCOPE OF RELEVANT, PROPORTIONAL DISCOVERY IN THIS LITIGATION.

        Rule 26 limits discovery to information that is both “relevant” to a party’s claims or

 defenses and “proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). Among other

 factors, the proportionality analysis turns on the “importance of the discovery in resolving the

 issues” and whether the likely benefit of the discovery outweighs the burden or expense of

 responding.    Id.   Although “relevance for discovery purposes is broadly construed,” the

 requirement is “not without bite,” and discovery should be deemed impermissible where there is

 no “reasonable likelihood that allowing discovery . . . will lead to discovery of evidence relevant”



                                                  4
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 6 of 8 PageID# 430




 to the litigation. Food Lion, Inc. v. United Food & Commercial Workers Int’l Union AFL-CIO-

 CLC, 103 F.3d 1007, 1012–13 (D.C. Cir. 1997); see also Epstein v. MCA, Inc., 54 F.3d 1422,

 1423–24 (9th Cir. 1995) (vacating discovery-related contempt order because the information

 sought was irrelevant; it “would have no bearing on either the merits of the case or on the motion

 for class certification”).

         Information concerning the United States Government has little to no relevance to an

 adjudication of any remaining issues in this case. Plaintiffs do not allege that any Government

 agency or entity caused or is liable for the injuries alleged in the Complaint. And although

 Defendants were employees of the United States Government at the time of the accident, Plaintiffs

 do not allege that they were acting within the scope of that employment in allegedly committing

 the torts in question. Similarly, although Plaintiffs’ pleadings contain references to the United

 States’ decision not to permit extradition of Ms. Sacoolas to the United Kingdom, that matter has

 no bearing on any of Defendants’ remaining asserted claims in this case.

         Indeed, the United States notes that Anne Sacoolas has conceded her liability for the tort

 alleged in Plaintiffs’ Complaint, Answer ¶ 52. As a result, the scope of any remaining disputed

 issues (e.g., vicarious liability, damages) is quite narrow, and Government information implicating

 any individual’s employment with the United States Government has no direct relevance to

 resolving such questions. Additionally, subject to the entry of the protective order sought here,

 the United States has no objection to discovery being directed to the Defendants, including the

 requirement that they sit for depositions. See Order at 8, ECF No. 23 (stating that Defendants may

 be necessary witnesses). The United States seeks reasonable safeguards to protect Government

 information from disclosure, but otherwise supports the full litigation and adjudication of the

 parties’ outstanding issues.




                                                 5
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 7 of 8 PageID# 431




        Even if certain information regarding the United States could arguably have some potential

 relevance to Plaintiffs’ claims, the burden of such discovery would be disproportionate to the needs

 of this case. The United States is unable to provide additional detail in this filing, but addresses

 the matter at greater length in its ex parte submission. In general terms, the United States seeks

 protection under Rule 26 because of the impact the disclosure of information regarding the

 Government in this litigation could reasonably be expected to have on national security. That

 harm should be dispositive in the Rule 26 proportionality calculus where it is compared to the at

 most minimal relevance of Government information to the resolution of this litigation. Cf. St. John

 v. Napolitano, 274 F.R.D. 12, 17 (D.D.C. 2011) (deeming production of various medical records

 not proportional because of, inter alia, the “harm to the plaintiff’s privacy interests from the

 disclosure”); Vire v. Entergy Operations, Inc., No. 4:15-cv-214, 2016 WL 10576707, at *2 (E.D.

 Ark. Sept. 28, 2016) (balancing “the government’s interest in confidentiality” against the

 plaintiff’s need for certain “highly sensitive information” regarding nuclear power plants and

 finding “the need for confidentiality outweighs plaintiffs’ need”).2




 2
   The Government notes that the information at issue in this motion may also be subject to a claim
 under the state secrets privilege. When a discovery request calls for the production of potentially
 privileged information, a court may consider questions of relevance before reaching assertions of
 privilege. See, e.g., Alexander v. FBI, 186 F.R.D. 188, 192 (D.D.C. 1999) (finding requested
 information to be irrelevant, rendering it unnecessary to reach issue of presidential
 communications privilege, which had been bifurcated for later consideration). Thus, “matters of
 privilege”—including formal assertion of privilege—“can appropriately be deferred . . . until after
 the production demand has been adequately bolstered by a general showing of relevance and good
 cause.” Freeman v. Seligson, 405 F.2d 1326, 1338 (D.C. Cir. 1968). This approach is especially
 appropriate in cases involving Executive privileges. Cf. Cheney v. United States, 542 U.S. 367,
 390 (2004) (in case concerning the presidential communications privilege, encouraging courts,
 “whenever possible,” to “explore other avenues, short of forcing the Executive to invoke
 [Executive] privilege”).


                                                  6
Case 1:20-cv-01052-TSE-IDD Document 62-2 Filed 07/23/21 Page 8 of 8 PageID# 432




                                         CONCLUSION

        For the foregoing reasons, the United States respectfully requests the Court grant the

 attached protective order and exclude information from discovery or disclosure in this litigation

 implicating the United States Government that is in any way, either directly or indirectly, related

 to the Defendants’ or any other individuals’ employment with the United States Government.

 Dated: July 23, 2021                                 Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Acting Assistant Attorney General
                                                      Civil Division

                                                      RAJ PAREKH
                                                      Acting United States Attorney

                                                      ALEXANDER K. HAAS
                                                      Director, Federal Programs Branch

                                                      ANTHONY J. COPPOLINO
                                                      Deputy Director, Federal Programs Branch

                                                      JAMES R. POWERS
                                                      Trial Attorney
                                                      Civil Division, Federal Programs Branch
                                                      United States Department of Justice
                                                      1100 L Street, NW
                                                      Washington, DC 20005
                                                      Tel: (202) 353-0543
                                                      Email: james.r.powers@usdoj.gov

                                                       /s/
                                                      DENNIS C. BARGHAAN, JR.
                                                      Acting Chief, Civil Division
                                                      Assistant United States Attorney
                                                      2100 Jamieson Ave.
                                                      Alexandria, VA 22314
                                                      Tel: (703) 299-3891
                                                      Fax: (703) 299-3983
                                                      Email: dennis.barghaan@usdoj.gov

                                                      ATTORNEYS FOR THE UNITED STATES




                                                 7
